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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       West Palm Beach Division
                       Civil Case No. 9:23-cv-81257-ROSENBERG/REINHART

   THE INSTITUTE FOR REGIONAL
   CONSERVATION, CENTER FOR
   BIOLOGICAL DIVERSITY, and the
   NATIONAL PARKS CONSERVATION
   ASSOCIATION,

                     Plaintiffs,

           v.

   U.S. FISH AND WILDLIFE SERVICE;
   MARTHA WILLIAMS, in her official
   capacity as Director of the U.S. Fish and
   Wildlife Service; and DEBRA HAALAND,
   in her official capacity as Secretary of the
   U.S. Department of the Interior,

                     Defendants.




                 FEDERAL DEFENDANTS’ ANSWER TO THE COMPLAINT

         Defendants, the United States Fish and Wildlife Service (the “Service”); Martha

  Williams, in her official capacity as Director of the Service; and Debra Haaland, in her official

  capacity as Secretary of the United States Department of the Interior (collectively, “Federal

  Defendants”) hereby submit this Answer in response to Plaintiffs’ Complaint for Declaratory and

  Injunctive Relief (ECF No. 1). The numbered paragraphs in this Answer correspond to the

  numbered paragraphs in the Complaint.

         1.      The allegations in Paragraph 1 constitute Plaintiffs’ characterization of their case,

  to which no response is necessary. To the extent a response is required, Federal Defendants deny

  the allegations.

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         2.      Federal Defendants admit that the ghost orchid grows in southwestern Florida and

  Cuba. The remaining allegations in Paragraph 2 constitute Plaintiffs’ characterization of their

  case, to which no response is necessary. To the extent a response is required, Federal Defendants

  deny the allegations.

         3.      The allegations in Paragraph 3 purport to characterize undisclosed studies that

  speak for themselves and are the best evidence of their contents. Any allegations inconsistent

  with their plain language, meaning, or context are denied.

         4.      The allegations in Paragraph 4 purport to characterize undisclosed studies that

  speak for themselves and are the best evidence of their contents. Any allegations inconsistent

  with their plain language, meaning, or context are denied.

         5.      The allegations in the first sentence of Paragraph 5 purport to characterize

  undisclosed studies that speak for themselves and are the best evidence of their contents. Any

  allegations inconsistent with their plain language, meaning, or context are denied. The

  allegations in the second sentence constitute Plaintiffs’ characterization of their case, to which no

  response is necessary. To the extent a response is required, Federal Defendants deny the

  allegations on that basis.

         6.      The allegations in Paragraph 6 purport to characterize undisclosed studies and

  information from Florida Fish and Wildlife Conservation Commission that speak for themselves

  and are the best evidence of their contents. Any allegations inconsistent with their plain

  language, meaning, or context are denied.

         7.      Federal Defendants admit that they received a petition from Plaintiffs dated

  January 24, 2022, to list the ghost orchid as a threatened or endangered species. Federal

  Defendants lack knowledge or information sufficient to form a belief as to the truth of the

  remaining allegations in Paragraph 7, and therefore deny them.
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            8.    Federal Defendants admit that they issued a positive 90-day finding on October

  22, 2022, pursuant to section 4(b)(3)(A) of the Endangered Species Act, 16 U.S.C. §

  1533(b)(3)(A), concluding that Plaintiffs’ petition presented “substantial scientific or commercial

  information” indicating that listing the ghost orchid “may be warranted.” The remaining

  allegations in Paragraph 8 constitute legal conclusions, to which no response is necessary. To the

  extent a response is required, Federal Defendants deny the allegations on that basis.

            9.    Federal Defendants admit that to date they have not issued a 12-month finding for

  the ghost orchid. The remaining allegations in Paragraph 9 constitute Plaintiffs’ characterization

  of their case and legal conclusions, to which no response is necessary. To the extent a response is

  required, Federal Defendants deny the allegations on that basis.

            10.   The allegations in Paragraph 10 purport to characterize the Endangered Species

  Act, 16 U.S.C. § 1533 et al. (“ESA”), which speaks for itself and is the best evidence of its

  contents. Any allegations inconsistent with the ESA’s plain language, meaning, or context are

  denied.

            11.   The allegations in Paragraph 11 constitute Plaintiffs’ characterization of their

  case, to which no response is necessary. To the extent a response is required, Federal Defendants

  deny the allegations on that basis.

            12.   The allegations in Paragraph 12 are legal conclusions, to which no response is

  required. To the extent the allegations in Paragraph 12 could be considered factual, Federal

  Defendants lack knowledge or information sufficient to form a belief as to the truth of those

  allegations, and therefore deny them.

            13.   The allegations in Paragraph 13 are legal conclusions, to which no response is

  required. To the extent the allegations in Paragraph 13 could be considered factual, Federal



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  Defendants lack knowledge or information sufficient to form a belief as to the truth of those

  allegations, and therefore deny them.

         14.     Federal Defendants admit the allegations in the first sentence of Paragraph 14.

  Federal Defendants deny the remaining allegations and aver that they responded to Plaintiffs’

  notice of intent to sue in a letter dated August 3, 2023.

         15.     The allegations in Paragraph 15 constitute legal conclusions, to which no response

  is required. To the extent the allegations in Paragraph 15 could be considered factual, Federal

  Defendants lack knowledge or information sufficient to form a belief as to the truth of those

  allegations and therefore deny them.

         16.     Federal Defendants lack knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 16, and therefore deny them.

         17.     Federal Defendants lack knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 17, and therefore deny them.

         18.     Federal Defendants lack knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 18, and therefore deny them.

         19.     Federal Defendants lack knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 19, and therefore deny them.

         20.     Federal Defendants lack knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 20, and therefore deny them.

         21.     Federal Defendants lack knowledge or information sufficient to form a belief as to

  the truth of the allegations in the first and second sentences of Paragraph 21, and therefore deny

  them. The allegations in the third sentence of Paragraph 21 constitute legal conclusions, to which

  no response is required. To the extent a response is required, Federal Defendants deny the

  allegations.
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         22.     Federal Defendants lack knowledge or information sufficient to form a belief as to

  the truth of the allegations in the first, second, and third sentences of Paragraph 22, and therefore

  deny them. The allegations in the fourth sentence of Paragraph 22 constitute legal conclusions, to

  which no response is required. To the extent a response is required, Federal Defendants deny the

  allegations.

         23.     Federal Defendants lack knowledge or information sufficient to form a belief as to

  the truth of the allegations in the first through fourth sentences of Paragraph 23, and therefore

  deny them. The allegations in the fifth sentence of Paragraph 23 constitute legal conclusions, to

  which no response is required. To the extent a response is required, Federal Defendants deny the

  allegations.

         24.     The allegations in Paragraph 24 constitute Plaintiffs’ characterization of their case

  and legal conclusions, to which no response is necessary. To the extent a response is required,

  Federal Defendants deny the allegations.

         25.     Federal Defendants admit that the Service is the agency within the Department of

  the Interior that is charged with implementing the ESA for the ghost orchid and that the

  Secretary of the U.S. Department of the Interior has delegated administration of the ESA to the

  Service through 50 C.F.R. § 402.01(b). The remaining allegations in Paragraph 25 are too vague

  and ambiguous to permit a response, and therefore Federal Defendants deny them.

         26.     Federal Defendants admit the allegations in Paragraph 26.

         27.     Federal Defendants admit the allegations in Paragraph 27.

         28.     The allegations in Paragraph 28 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.



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         29.     The allegations in Paragraph 29 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         30.     The allegations in Paragraph 30 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         31.     The allegations in Paragraph 31 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         32.     The allegations in Paragraph 32 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         33.     The allegations in Paragraph 33 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         34.     The allegations in the first sentence of Paragraph 34 purport to characterize the

  ESA, which speaks for itself and is the best evidence of its contents. Any allegations

  inconsistent with the ESA’s plain language, meaning, or context are denied. Federal Defendants

  admit the allegations in the second sentence of Paragraph 34.

         35.     The allegations in Paragraph 35 purport to characterize the ESA and its legislative

  history, which speaks for itself and is the best evidence of its contents. Any allegations

  inconsistent with the ESA’s plain language, meaning, or context are denied.




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         36.     The allegations in Paragraph 36 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         37.     The allegations in Paragraph 37 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         38.     The allegations in Paragraph 38 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         39.     The allegations in Paragraph 39 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         40.     The allegations in Paragraph 40 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         41.     The allegations in Paragraph 41 purport to characterize the ESA, which speaks for

  itself and is the best evidence of its contents. Any allegations inconsistent with the ESA’s plain

  language, meaning, or context are denied.

         42.     The allegations in the first sentence of Paragraph 42 purport to characterize the

  ESA, which speaks for itself and is the best evidence of its contents. Any allegations

  inconsistent with the ESA’s plain language, meaning, or context are denied. The allegations in

  the second sentence are vague and ambiguous, and therefore Federal Defendants deny them.




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         43.     The allegations in Paragraph 43 constitute Plaintiffs’ characterization of their

  case, to which no response is necessary. To the extent a response is required, Federal

  Defendants deny the allegations on that basis.

         44.     Federal Defendants admit the allegations in Paragraph 44.

         45.     Federal Defendants admit the allegations in Paragraph 45.

         46.     Federal Defendants admit the allegations in Paragraph 46.

         47.     Federal Defendants admit the allegations in Paragraph 47.

         48.     The allegations in the first sentence of Paragraph 48 purport to characterize

  undisclosed studies that speak for themselves and are the best evidence of their contents. Any

  allegations inconsistent with their plain language, meaning, or context are denied. Federal

  Defendants deny the allegations in the second sentence. The remaining allegations constitute

  Plaintiffs’ characterization of their case, to which no response is necessary. To the extent a

  response is required, Federal Defendants deny the allegations.

          49.    The allegations in the first and last sentences of Paragraph 49 constitute Plaintiffs’

  characterization of their case, to which no response is necessary. To the extent a response is

  required, Federal Defendants deny the allegations. Federal Defendants lack knowledge or

  information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

  49, and therefore deny them.

         50.     The allegations in the second and third sentences of Paragraph 50 purport to

  characterize undisclosed studies that speak for themselves and are the best evidence of their

  contents. Any allegations inconsistent with their plain language, meaning, or context are denied.

  The remaining allegations are too vague and ambiguous to permit a response, and therefore

  Federal Defendants deny them.



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            51.   The allegations in the first sentence of Paragraph 51 constitute Plaintiffs’

  characterization of their case, to which no response is necessary. To the extent a response is

  required, Federal Defendants deny the allegations. The remaining allegations in Paragraph 51

  purport to characterize undisclosed studies that speak for themselves and are the best evidence of

  their contents. Any allegations inconsistent with their plain language, meaning, or context are

  denied.

            52.   The allegations in Paragraph 52 are too vague and ambiguous to permit a

  response, and therefore Federal Defendants deny them.

            53.   The allegations in Paragraph 53 constitute Plaintiffs’ characterization of their

  case, to which no response is necessary. To the extent that a response is required, Federal

  Defendants deny the allegations.

            54.   Federal Defendants admit the allegations in the first two sentences of Paragraph

  54 that Plaintiffs submitted a petition on January 24, 2022 to list the ghost orchid as threatened or

  endangered under the ESA and that the Service issued a positive 90-day finding on October 22,

  2022. The remaining allegations in Paragraph 54 purport to characterize the petition, positive 90-

  day finding, and the ESA, which speak for themselves and are the best evidence of their

  contents. Any allegations inconsistent with the petition’s, 90-day finding’s, and ESA’s plain

  language, meaning, or context are denied.

            55.   Federal Defendants hereby incorporate by reference each and every response to

  the allegations in Paragraphs 1 through 54 above.

            56.   The allegations in the first sentence of Paragraph 56 purport to characterize the

  ESA, which speaks for itself and is the best evidence of its contents. Any allegations inconsistent

  with the ESA’s plain language, meaning, or context are denied. The allegations in the second



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   sentence constitute legal conclusions, to which no response is necessary. To the extent a

   response is required, Federal Defendants deny the allegations on that basis.

             57.    The allegations in Paragraph 57 constitute Plaintiffs’ characterization of its case

   and legal conclusions, to which no response is necessary. To the extent a response is required,

   Federal Defendants deny the allegations.

             58.    The allegations in Paragraph 58 constitute legal conclusions, to which no response

   is necessary. To the extent a response is required, Federal Defendants deny the allegations.

             The remaining allegations under “Prayer for Relief” numbered 1 through 4 contain

   Plaintiffs’ requested relief to which no response is required.

                                           GENERAL DENIAL
             Federal Defendants deny each and every allegation of the Complaint not otherwise
   expressly admitted, qualified, or denied herein.
                                      AFFIRMATIVE DEFENSES
             Without limiting or waiving any defenses available to them, Federal Defendants hereby
   assert:
             A.     To the extent that Plaintiffs have failed to state a claim on which relief can be
   granted, any such claim should be dismissed.
             B.     To the extent that the Court lacks subject matter jurisdiction over the claim in the
   Complaint, the claim should be dismissed.
             C.     To the extent that Plaintiffs have failed to comply with the ESA’s sixty-day notice
   provision as set forth in 16 U.S.C. § 1540(g)(2)(C), their claim should be dismissed.
             Federal Defendants reserve the right to assert any other claims or defenses as may be
   available, or may become available during the course of these proceedings.


   Dated: December 4, 2023                   Respectfully Submitted,

                                             TODD KIM, Assistant Attorney General
                                             S. JAY GOVINDAN, Section Chief
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                                 MEREDITH L. FLAX, Deputy Section Chief

                                 /s/ Jacob Jose
                                 JACOB JOSE (CO Bar No. 59582)
                                 Trial Attorney, Wildlife and Marine Resources Section
                                 CHRISTIAN H. CARRARA (NJ Bar No. 317732020)
                                 Trial Attorney, Wildlife and Marine Resources Section
                                 United States Department of Justice
                                 Environment and Natural Resources Division
                                 150 M St. NE, Washington, D.C. 20002
                                 Phone: (202) 341-1749 (Jose)
                                         (202) 305-0271 (Carrara)
                                 Fax: (202) 305-0275
                                 Email: jacob.jose@usdoj.gov
                                         christian.carrara@usdoj.gov
                                 Attorneys for Federal Defendants




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on December 4, 2023, I electronically filed the foregoing with the

   Clerk of the Court using the CM/ECF system, which will send notification of such to the

   attorneys of record.



                                                       /s/ Jacob Jose
                                                       JACOB JOSE
                                                       Attorney for Federal Defendants




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